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 Via ECF

 July 11, 2025

 The Honorable Lee G. Dunst
 United States Magistrate Judge
 Eastern District Court of New York
 100 Federal Plaza,
 Central Islip, NY 11722

                 Re: Public Administrator of the County of Nassau v. County of Nassau, et. al.
                 Dkt. No. 2:17-cv-05623-GRB-LGD

 Dear Magistrate Judge Dunst:

 Pursuant to the Court’s order dated June 6, 2025, the parties are submitting their Joint Status Letter
 to advise the Court of the status of settlement.

 Legislative approval for the settlement has been obtained. Plaintiff has submitted a request to
 Medicaid to obtain a final lien amount. A response is anticipated within thirty days. Upon receipt,
 the parties will proceed with preparing an application to the Nassau County Surrogate’s Court for
 issuance of a wrongful death Decree.

 Plaintiff’s counsel has had discussions with the Public Administrator’s counsel about the Default
 Judgment against Armor Correctional. We are currently awaiting a response from the Public
 Administrator.

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